FILED

UNITED STATES DISTRICT CQURT
ALBUQUERQUE, NEW MEXICO

IN THE UNITED STATES DISTRICT COURT FEB 27 2019

FOR THE DISTRICT OF NEW MEXICO MITCHELL R. ELFERS
CLERK

UNITED STATES OF AMERICA, )

) —— °
Plaintiff, ) CRIMINAL NO. / — FS
)
VS. ) Count 1: 18 U.S.C. § 1349:

) Conspiracy;

RICK BENAVIDEZ and )

DAMIAN MARON, ) Counts 2 and 3: 18 U.S.C. § 1344:
) Bank Fraud; 18 U.S.C. § 2: Aiding

Defendants. ) and Abetting.
INDICTMENT
The Grand Jury charges:

Count 1

1. From on or about April 18, 2013, to on or about May 31, 2013, in Bernalillo
County, in the District of New Mexico, and elsewhere, the defendants, RICK BENAVIDEZ and
DAMIAN MARON, knowingly, unlawfully, and willingly combined, conspired,
confederated, agreed, and acted interdependently with one another and with others, known and
unknown to the Grand Jury, to commit bank fraud, contrary to 18 U.S.C. § 1344.

Manner and Means

2. The manner and means by which the defendants, RICK BENAVIDEZ and
DAMIAN MARON, sought to accomplish the objectives of the conspiracy included, among
other things, the following:

a. Recruiting others to apply for loans to purchase automobiles under false
pretenses;

b. Creating false documents overstating the income of auto loan applicants;

 
C. Obtaining loans to purchase automobiles using false information about the

income and credit worthiness of the loan applicants;

d. Receiving proceeds from auto loans obtained through fraud;
e. Disbursing proceeds of fraudulent auto loans to co-conspirators;
f. Communicating about fraudulent auto loans by wireless telephone and
email.
Overt Acts
3. In furtherance of the conspiracy, and to effect the objects thereof, the following

overt acts, among others, were committed in the District of New Mexico, and elsewhere:

a. On or about April 18, 2013, BENAVIDEZ and MARON signed a contract with
Person 1, whose identity is known to the grand jury, requiring Person 1 to act at the direction of
BENAVIDEZ and MARON for the ostensible purpose of improving Person 1’s consumer credit
ratings.

b. On or about May 13, 2013, BENAVIDEZ sent an email message to

MARON containing a driver’s license with a false address for Person 1.

c. On or about May 29, 2013, BENAVIDEZ sent Person | an email message
containing a false bill of sale for a 2007 Mercedes Benz automobile.

d. On or about May 29, 2013, BENAVIDEZ directed Person 1 to “GO TO THE
BANK” with the false bill of sale.

€. On or about May 30, 2013, MARON directed Person 1 to apply for an

auto loan from Sandia Laboratory Federal Credit Union.

 

 
f. On or about May 30, 2013, MARON instructed Person | to lie about his income
in applying for an auto loan at Sandia Laboratory Federal Credit Union.
g. On or about May 31, 2013, MARON directed Person | to apply for an auto loan
from New Mexico Educators Federal Credit Union.
h. On or about May 31, 2013, MARON instructed Person 1 to lie about his
income in applying for an auto loan at New Mexico Educators Federal Credit Union.
In violation of 18 U.S.C. § 1349.
Count 2
On or about May 30, 2013, in the District of New Mexico, and elsewhere, defendants,
RICK BENAVIDEZ and DAMIAN MARON, knowingly and unlawfully executed and
attempted to execute a scheme and artifice to obtain property owned by and under the custody
and control of a financial institution by means of false and fraudulent pretenses, representations
and promises, in that the defendants caused Person 1, whose identity is known to the grand jury,
to make materially false statements to Sandia Laboratory Federal Credit Union in an application
for a loan to purchase a 2007 Mercedes Benz automobile.
In violation of 18 U.S.C. §§ 1344(2) and 2.
Count 3
On or about May 31, 2013, in the District of New Mexico, and elsewhere, defendants,
RICK BENAVIDEZ and DAMIAN MARON, knowingly and unlawfully executed and
attempted to execute a scheme and artifice to obtain property owned by and under the custody

and control of a financial institution by means of false and fraudulent pretenses, representations

and promises, in that the defendants caused Person 1, whose identity is known to the grand jury,

 

 
to make materially false statements to New Mexico Educators Federal Credit Union in an
application for a loan to purchase a 2007 Mercedes Benz automobile.

In violation of 18 U.S.C. §§ 1344(2) and 2.

A TRUE BILL:

/s/
FOREPERSON OF THE GRAND JURY

  

 

    

Assistant United States Attorney

2/22/2019 11:56 AM

 
